Case 1:19-md-02875-RMB-SAK   Document 2663-3   Filed 02/26/24   Page 1 of 6 PageID:
                                   98235




                             Exhibit 2
                 Case 1:19-md-02875-RMB-SAK                       Document 2663-3   Filed 02/26/24          Page 2 of 6 PageID:
                                                                        98236
                      2002 Eastpark Blvd. Ste. A
                      Cranbury, NJ 08512
                      Tel: (609) 451-1000 | Fax (609) 451-1100

                     www.solcohealthcare.com
                                                                                                             O
                                                                                                             Healthcare U.S.
                                                                                                                                 O

                                       URGENT RECALL of Valsartan Tablets, 40mg, 30ct; 80mg, 90ct; 160mg, 90ct;
                                       320mg, 90ct; and Valsartan HCTZ Tablets, 80mg/12.5mg, 90ct; 160mg/12.5mg,
                                           90ct; 160mg/25mg, 90ct; 320m¢g/12.5mgeg, 90ct and 320mg/25mg, 90ct

                                                                                                                                      Hai Wang
                      Date: July 13, 2018

                                                                                                                                       128
                                                                                                                                       3/10/2121
                      Dear Valued Customer:

                      This letter is to inform you that Solco Healthcare is voluntarily recall the products listed in the
                      table below.

                      This product recall is due to the detection of a trace amount of an unexpected impurity, N-
                      nitrosodimethylamine (NDMA), made by the manufacturer Z hejiang Huahai Pharmaceutical
                                                                                    —




                      Co. Ltd. that is used in the manufacture of the subject product lots. This impurity has been
                                      --




                      classified as a probable human carcinogen as per International Agency for Research on Cancer
                      (IARC) classification. No adverse events have been reported to date.
                      The products are indicated for the treatment of hypertension.

                      The exposure to the impurity N-nitrosodimethylamine (NDMA) that was detected in valsartan
                      product line presents an unacceptable carcinogenic risk to the intended patient population.
                        Product                   NDC Code           Lot Number     Expiry Dates            Distribution Date

                                           30CT   43547-367-03       All lots       From Jul 18 to Jan 20   Oct 2015   —




                                                                                                                           Jun 2018

                        VALSARTAN
                        TABLETS 80MG 90CT         43547-368-09       All lots       From Jul 18 to Jan 20   Oct 2015   —

                                                                                                                           Jun 2018

                        VALSARTAN
                        TABLETS 160MG 90CT        43547-369-09       All lots       From Jul 18 to Jan 20   Oct 2015   —


                                                                                                                           Jun 2018
                        VALSARTAN
                                                  43547-3670-09      All lots       From Jul 18 to Jan 20   Oct 2015   —


                                                                                                                           Jun 2018
                        TABLETS 320MG 90CT
                        VALSARTAN/HCTZ
                        80MG/12.5MG 90CT          43547-311-09       All lots       From Jul 18 to Jan 20   Jun 2016   —


                                                                                                                           Jun 2018
                        TABLETS
                        VALSARTAN/HCTZ
                        160MG/12.5MG 90CT         43547-312-09       All lots       From Jul 18 to Jan 20   Jun 2016   —


                                                                                                                           Jun 2018
                        TABLETS
                        VALSARTAN/HCTZ
                        160MG/25MG 90CT
                        TABLETS
                                                  43547-313-09       All lots       From Jul 18 to Jan 20   Jun 2016   —


                                                                                                                           Jun 2018

                        VALSARTAN/HCTZ
                        320MG/12.5MG 90CT         43547-314-09       All lots       From Jul 18 to Jan 20   Jun 2016   —


                                                                                                                           Jun 2018
                        TABLETS
                        VALSARTAN/HCTZ
                        320MG/25MG 90CT           43547-315-09       All lots       From Jul 18 to Jan 20   Jun 2016   —


                                                                                                                           Jun 2018
                        TABLETS




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                 Case 1:19-md-02875-RMB-SAK                                         Document 2663-3                Filed 02/26/24   Page 3 of 6 PageID:
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                      Tel: (609) 451-1000 | Fax (609) 451-1100

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                      The affected products’ lot number and expiry date information can be found
                      at   http://www.solcohealthcare.com/uploads/news/ValsartanHCTZRecallA ffactedLots.pdf or to
                      download at
                      http://www.solcohealthcare.com/uploads/news/ValsartanHCTZRecallAffactedLots.xlsx.
                       See enclosed product labels for ease in identifying the products at retail level.

                      Valsartan 40 mg strength, 30 ct bottle

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                                                                                                      Valsartan
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                     www.solcohealthcare.com
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                      Valsartan 320 mg strength, 90 ct bottle
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                      Valsartan HCTZ 80 mg/12.5mg strength, 90 ct bottle

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                      Valsartan HCTZ 160                                               strength, 90 ct bottle
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RESTRICTED CONFIDENTIAL INFORMATION                                                                                                                                                      SOLC000024233
                 Case 1:19-md-02875-RMB-SAK                                            Document 2663-3              Filed 02/26/24              Page 5 of 6 PageID:
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                      2002 Eastpark Blvd. Ste. A
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                      Tel: (609) 451-1000 | Fax (609) 451-1100

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                      Valsartan HCTZ 160 mg/25mg strength, 90 ct bottle
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                 Case 1:19-md-02875-RMB-SAK                       Document 2663-3      Filed 02/26/24    Page 6 of 6 PageID:
                                                                        98240
                        2002 Eastpark Bivd. Ste. A
                        Cranbury, NJ 08512
                           (609) 451-1000 | Fax: (609) 451-1100
                        Tel:

                        www.solcohealthcare.com
                                                                                                            O CO
                                                                                                           Healthcare U.S.



                        The valsartan tablet product was shipped to you between October 2015 and June 2018. The
                        valsartan HCT tablet product was shipped to you between June 2016 and June 2018.

                       Immediately examine your inventory and quarantine the products subject to recall. In addition, if
                       you may have further distributed this product, please identify your customers and notify them at
                       once of this product recall. Your notification to
                                                                         your customers may be enhanced by including a
                        copyof this recall      notification letter.

                       Retail pharmacies in possession of any unused products above immediately return the product
                                                                                                                   by
                       following the instructions below:
                                      Pharmacists and wholesalers are asked to check their inventories, segregate any
                                      impacted inventory.
                                      Please contact Solco Customer Service at 1-866-931-9829, Option
                                                                                                              Monday through
                                      Friday (9am to Spm EST) or email orfax to: customerservice@solcohealthcare.com; 1-
                                      866-931-0709, for the Product Return.
                                        call tag, a pre-printed, pre-paid return label will be provided to youfor
                               e
                                                                                                                  product
                                      return; return is free of charge.
                               e      Return products to:
                                                            DLSS (Dohmen Life Science Services)
                                                            Attn: Returns Department
                                                            4580 S. Mendenhall, Memphis, TN 38141

                       This recall should be carried out to the retail level. Your assistance is appreciated and
                       to prevent potential patient harm.
                                                                                                                   necessary
                       Please complete and return the enclosed response form as soon as possible.

                       We apologize for any inconvenience this may cause you. If you have any questions, call Solco
                       Customer Service at 1-866-931-9829, Option 5, Monday through Friday (9am to Spm EST).

                       This recall is being made with the knowledge of the Food and Drug Administration.


                       Sincerely,



                       Jun Du
                       CEO
                       Solco Healthcare LLC




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